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                                                                December 1, 2020


BY ECF

The Honorable Paul A. Engelmayer
United States District Judge
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:     United States v. Ari Teman
               Case No. 19-cr-696 (PAE)

Dear Judge Engelmayer:

        We write respectfully to advise the Court that we have been terminated as
counsel for Ari Teman, and that we will promptly file a motion pursuant to Local
Criminal Rule 1.2 seeking leave to withdraw. In addition, we respectfully request that
the Court direct that, consistent with Federal Rule of Criminal Procedure 49.1(a)(3), the
name of Noam Biale’s minor child be redacted from the public transcript of today’s
proceedings.

       We appreciate the Court’s consideration.

                                                     Respectfully submitted,

                                                     /s/

                                                     Justine Harris

cc:    All Counsel of Record




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